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                                  UNITED STATES DISTRICT COURT
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                                 CENTRAL DISTRICT OF CALIFORNIA
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 10       ROBERT GEORGE HOGARTH,                                Case No. 5:21-cv-1497-DSF (MAR)
 11                                           Petitioner,
                                                                MEMORANDUM AND ORDER
 12                                v.                           DENYING MOTION FOR
                                                                TEMPORARY RESTRAINING
 13       MERRICK GARLAND, ET AL.,                              ORDER [DKT. 3] AND DISMISSING
                                                                THE PETITION [DKT. 1]
 14                                           Respondents.
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 17                                                      I.
 18                                           INTRODUCTION
 19             On September 2, 2021, Petitioner, by and through counsel, filed a Petition for
 20   Writ of Habeas Corpus (“Petition”) by a Person in Federal Custody pursuant to 28
 21   U.S.C. § 2241 and a Motion for Temporary Restraining Order (“Motion”). ECF
 22   Docket Nos. (“Dkt(s).”) 1; 3. For the reasons set forth below, the Motion is
 23   DENIED and the Petition is DISMISSED with prejudice.
 24                                                      II.
 25                                            BACKGROUND
 26             On September 2, 2021, Petitioner filed the Petition challenging Petitioner’s
 27   detention at the Adelanto Detention Center (“ADC”). Dkt. 1 at 2. 1 On the same day,
 28   1
          All citations to electronically filed documents refer to the CM/ECF pagination.
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  1   Petitioner filed a Motion for Temporary Restraining Order, arguing he is entitled to
  2   immediate release. Dkt. 3 at 1–2.
  3          Petitioner, a 52-year-old male from Jamaica has been a lawful permanent
  4   resident since approximately April 8, 1989. Dkt. 3 at 6. Petitioner has been in the
  5   custody of the Department of Homeland Security (“DHS”) at the ADC in Adelanto,
  6   California for twelve (12) months. Id. Petitioner argues that his prolonged detention
  7   presents unconstitutional conditions when considered against the risk of infection by
  8   COVID-19. Id.
  9                                              III.
 10                                       DISCUSSION
 11   A.     PETITIONER’S CLAIMS ARE CONTROLLED BY A MANDATORY
 12          CLASS ACTION AND THEREFORE THE PETITION MUST BE
 13          DISMISSED
 14          1.    Applicable law
 15          A member of a class action certified under Federal Rule of Civil Procedure
 16   23(b)(2) (“Rule 23(b)(2)”) cannot opt out. Fed. R. Civ. P. 23(b)(2); see Wal-Mart
 17   Stores, Inc. v. Dukes, 564 U.S. 338, 360 (2011) (Rule 23(b)(2) “provides no
 18   opportunity for (b)(1) or (b)(2) class members to opt out.”). Furthermore, the court
 19   may dismiss a separate, individual suit for equitable relief brought by a class action
 20   member involving the same subject matter of the class action. See Crawford v. Bell,
 21   599 F.2d 890, 892–93 (1979) (holding that district court correctly dismissed portions
 22   of the complaint that duplicated the allegations and prayer for relief in the class
 23   action).
 24          2.    Analysis
 25                a.     Petitioner is a member of a mandatory class action
 26          On April 13, 2020, Kelvin Hernandez Roman, Miguel Aguilar Estrada, and
 27   Beatriz Andrea Forero Chavez, on behalf of themselves and all others similarly
 28   situated, filed a combined petition for writ of habeas corpus and complaint for
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  1   injunctive and declaratory relief premised on a Fifth Amendment substantive due
  2   process claim based on the conditions of confinement at ADC. See Roman, et al. v.
  3   Wolf, et al., 2:20-cv-768 TJH (PVCx) (“Roman”). On September 22, 2020, the Court
  4   certified the Roman class under Rule 23(b)(2) defining the class to include all who:
  5             (1) Are currently detained in civil immigration detention at the Adelanto
                    Immigration and Customs Enforcement Processing Center;
  6             (2) Were detained in civil immigration detention at the Adelanto
  7                 Immigration and Customs Enforcement Processing Center at any time
                    between March 23, 2020, and the final disposition of this case but have
  8                 been transferred by Bureau of Immigration and Customs Enforcement
  9                 to another immigration detention facility, regardless of whether the
                    other detention facility is within the Central District of California; or
 10             (3) Were detained in civil immigration detention at the Adelanto
 11                 Immigration and Customs Enforcement Processing Center at any time
                    between March 23, 2020, and the final disposition of this case but have
 12                 been released pursuant to a temporary restraining order, a preliminary
 13                 injunction, or other temporary release order issued by this Court.

 14   See Roman, 2:20-cv-768 (Dkt. 52).

 15             Plaintiff is currently detained in civil immigration detention at ADC and is

 16   therefore a mandatory member of the Roman class. Dkt. 1 at 2. Petitioner, therefore,

 17   cannot opt out of the class action. Fed. R. Civ. P. 23(b)(2); Wal-Mart Stores, Inc. v.

 18   Dukes, 564 U.S. at 360.

 19                     b.      The Petition duplicates the allegations and prayer for relief

 20                             in the class action

 21             The class members in Roman seek release from custody based on Fifth

 22   Amendment due process violations at ADC during the COVID-19 pandemic. See

 23   Roman, 2:20-cv-768 (Dkt. 1). Similarly, here, Petitioner asserts five (5) due process

 24   claims based on alleged violations at ADC during the COVID-19 pandemic.2

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          The Petition contains five (5) claims:
 26
                (1) A Fifth Amendment claim under the state created danger doctrine (“Claim One”);
 27             (2) A Fifth Amendment claim under the special relationship doctrine (“Claim Two”);
 28             (3) A Fifth Amendment claim based on cruel and unusual punishment (“Claim Three”);
                (4) A Fifth Amendment claim under the punitive detention doctrine (“Claim Four”); and
                                                       3
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  1   Accordingly, Petitioner seeks the same relief, release, based on the same allegations,
  2   rendering the Petition subject to dismissal.
  3                                                    IV.
  4                                                 ORDER
  5          IT IS THEREFORE ORDERED THAT Petitioner’s Motion is DENIED
  6   and the Petition is DISMISSED with prejudice.
  7
             IT IS SO ORDERED.
  8
       DATED: September 14, 2021
  9
                                                     Honorable Dale S. Fischer
 10                                                  UNITED STATES DISTRICT JUDGE
 11
 12   Presented by:
 13   /S/
 14   MARGO A. ROCCONI
      United States Magistrate Judge
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 19          (5) A Fifth Amendment prolonged detention claim (“Claim Five”).
 20   Dkt. 1 at 21–35.

 21   The first four (4) claims are clearly preempted by Roman. The fifth claim, prolonged detention,
      could be construed as being independent of the COVID-19-related circumstances. The Ninth
 22   Circuit has held immigration detention for over six months without a bond hearing is presumptively
 23   prolonged. See, e.g., Diouf v. Napolitano, 634 F.3d 1081, 1091 (9th Cir. 2011); see also Zadvydas v.
      Davis, 533 U.S. 678, 701 (2001). However, Petitioner had a bond hearing five (5) months ago and
 24   was denied release. Dkt. 1 at 37. Therefore, Petitioner’s detention is not presumptively prolonged.
      Furthermore, the Motion relies on the first four (4) claims as justification for injunctive relief, but
 25   only mentions “prolonged detention” in the introduction in relation to COVID-19. Dkt. 3 at 2–16
      (“Petitioner’s prolonged detention, when considered against the serious risk he faces at the Adelanto
 26   Detention center amidst a global pandemic, present unconstitutional conditions.”). Accordingly,
 27   Petitioner appears to be making a novel prolonged detention argument based on the COVID-19
      pandemic, which would be based on the same allegations and seek the same relief as the Roman
 28   class action, which he is already a member of.

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